Case 2:04-cv-02522-.]DB-dkv Document 32 Filed 08/10/05 Page 1 of 2 Page|D 42

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FoR THE WEsTERN DISTRICT oF TENNESSEE 05 AUG 10 F

  

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SHARRON BESSENT, CLEU" §§ t \;;§pr;£
Plaimifr,
V. No. 04-2522 B

DYERSBURG STATE COMMUNITY
COLLEGE,

Defendant.

 

ORDER TO SHOW CAUSE WHY DEFENDANT'S MOTION FOR
SUMMARY JUDGMENT SHOULD NOT BE GRANTED

 

This action was brought on July 12, 2004 by the Plaintiff, Sharron Bessent, Who is
represented by counsel. On June 24, 2005, the Defendant, Dyersburg State Community College,
moved for summary judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure. An order
Was entered on July 21, 2005 by the undersigned, granting the motion of the Plaintiff for additional
time to respond to the dispositive motion. The order directed that the response be filed by July 25,
2005. According to the Court's docket, no response has been filed to date. Therefore, the Plaintiff
is directed, Within fifteen (15) days of the entry of this order, to show cause Why the Defendant's
motion for summary judgment should not be granted

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. DAlNIEL BREEN \
UNITED s'rATEs DISTRICT JUDGE

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with Rule 58 §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02522 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

Arthur F. Knight

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Nashville, TN 37202--020

Honorable J. Breen
US DISTRICT COURT

